Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 1 of 23 PageID #: 5272




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

   VON DUPRIN LLC,                    )
                                      )
        Plaintiff,                    )
                                      )
   v.                                 )
                                      )
   MORAN ELECTRIC SERVICE, INC.,      )
   MAJOR HOLDINGS, LLC,               )
   MAJOR TOOL AND MACHINE, INC.,      )
   and ZIMMER PAPER PRODUCTS          )
   INCORPORATED,                      )
                                      )
        Defendants.                   )
                                      )
   MAJOR HOLDINGS, LLC,               )
       Cross-Claimant,                )
                                      )
   v.                                 )    Case No. 1:16-cv-001942-TWP-DML
                                      )
   MORAN ELECTRIC SERVICE, INC.,      )
       Cross-Claim Defendant.         )
                                      )
   MORAN ELECTRIC SERVICE, INC.,      )
       Counterclaimant,               )
                                      )
   v.                                 )
                                      )
   VON DUPRIN, LLC and                )
   MAJOR TOOL AND MACHINE, INC.,      )
        Counterclaim Defendants.      )
                                      )

    MORAN ELECTRIC SERVICE, INC.’S RESPONSE IN OPPOSITION TO VON
    DUPRIN’S MOTION FOR PARTIAL SUMMARY JUDGMENT AND BRIEF IN
       SUPPORT OF ITS CROSS-MOTION FOR SUMMARY JUDGMENT
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 2 of 23 PageID #: 5273




         Moran Electric Service, Inc. (“Moran”) files this memorandum in

   opposition to Von Duprin, LLC’s (“Von Duprin”) motion for partial summary

   judgment (Dkt. 133) and in support of Moran’s cross-motion for partial

   summary judgment.

    I.   Contested Issues and Issues of Material Fact that Preclude the Entry
         of Summary Judgment in Von Duprin’s Favor.

         A.    Von Duprin has moved for partial summary judgment against

   Moran, seeking a ruling that Moran may be held jointly and severally liable for

   contamination originating on the former Moran property.                Moran has

   designated conclusive evidence showing that the harm for which Von Duprin

   seeks recourse is divisible. This is an issue of causation, rather than equitable

   allocation that is appropriately addressed on summary judgment. This Court

   should deny Von Duprin’s request for an order holding Moran jointly and

   severally liable. This Court should instead rule that the harm is divisible and

   enter a partial summary judgment in Moran’s favor, ordering that Moran may

   be held liable only for its proportionate share of the harm. Allocation under the

   equitable Gore Factors may occur at trial.

         B.    Von Duprin must establish NCP compliance as an essential

   element of its claim under 42 USC § 9607(a). Moran is designating evidence

   showing that Von Duprin has not met its burden on summary judgment to

   establish that element of its claim.         Von Duprin’s motion for summary

   judgment on the issue of liability should be denied for that reason.

         Moran is also designating evidence sufficient to demonstrate that certain

   costs that Von Duprin seeks to recover categorically do not comply with the

                                           2
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 3 of 23 PageID #: 5274




   NCP. Moran seeks the entry of partial summary judgment in its favor, ordering

   that those costs are not recoverable in this lawsuit.

             C.     Von Duprin must also establish that the costs that it incurred were

   “necessary” to establish its claim under 42 USC § 9607(a). Moran is

   designating evidence that raises a genuine issue of material fact as to whether

   Von Duprin’s costs were/are necessary so as to confer recoverability status

   under CERCLA.

       II.   Factual Background

                  A. Facts pertaining to the contamination at the Von Duprin Site

             Von Duprin, Inc. (“Von Duprin”) is a prior owner of the Von Duprin

   Facility.1      During      its    ownership        and      operation       of    that     property       from

   approximately 1955 through 1986 (MDE A, EPA Site Inspection, pp. ES-1 – ES-

   3, Von Duprin 000358-360), Von Duprin used chlorinated solvents in its

   operations, including TCE and PCE. (MDE B, IDEM Rescission Letter, pp. 1-2;

   MDE C, TCE Disposal Letter; MDE D, PCE Disposal Letter, p. 1; MDE E,

   Mundell Report, p. 3; MDE F, Von Duprin Waste Forms).                                          On just one

   occasion, Von Duprin disposed of 3,900 pounds of unused, and 4,290 pounds

   of used, TCE. (MDE C, TCE Disposal Letter).

             Mundell & Associates reported that soil analytical result showed “an

   extensive area of the [Von Duprin] Site in the central and eastern portions

   where historical machining, parts washing, electroplating and painting

   operations occurred that contains non-saturated soil impacts above the IDEM

   1
    Von Duprin refers to the Von Duprin facility located at 1929 Columbia Ave., Indianapolis, Indiana as the Threaded
   Rod facility. Von Duprin is undisputedly the former owner and operator of that facility.


                                                           3
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 4 of 23 PageID #: 5275




   RISC IDCL for PCE and TCE, generally at depths beneath the slab and down to

   the water table.”    (MDE E, Mundell Report, p. 12). Likewise, IDEM has

   determined that TCE and PCE concentrations in monitoring wells on the Von

   Duprin Site “are likely attributable to the adjacent Plating, Painting & Plating

   Area … at the [Site][.]” (MDE G, Site Status Letter, p. 4, ¶ 10; MDE M, IDEM

   Ltr., p. 3, Gen. Comments (“the site has its own source areas for various COCs

   which have not been properly characterized or delineated.”). IDEM also noted

   that TCE and PCE (along with other chlorinated solvents) were detected in 31

   of 41 soil samples analyzed. (Id.).

         Although Von Duprin obtained a Corrective Action Complete Final

   Decision for the Threaded Rod Site from IDEM on September 1, 2010, IDEM

   rescinded that decision on May 2, 2014.      IDEM’s grounds for its rescission

   were that “releases of Perchloroethylene (PCE), Trichloroethene (TCE), and 1, 1,

   1 Trichloroethane (1, 1, 1-TCA) have occurred at the [Von Duprin] site,

   resulting in a groundwater contamination plume.” (MDE B, IDEM Rescission

   Letter, pp. 1-2). On April 18, 2012, IDEM commented that the “[Von Duprin]

   Site has its own source areas for various contaminants, which have not been

   appropriately characterized or delineated” and that data available to IDEM

   “shows a consistent source of PCE and TCE on the [Von Duprin] Site.” (MDE G,

   Site Status Letter, pp. 2-5). Von Duprin has made no effort to address impacts

   to soil or groundwater, either at the Von Duprin Site or downgradient.




                                          4
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 5 of 23 PageID #: 5276




            B. Facts pertaining to the former Moran Property.

         In July of 1996 (after Moran’s operations ceased) unsaturated soil

   samples were taken directly beneath Pits 1 and 2 – the pits that formerly

   housed Moran’s degreasers. One soil sample taken from directly below each Pit

   did not have detections. TCE was detected in two samples, one from Pit 1 and

   one from Pit 2, at concentrations well below industrial default closure levels.

   (MDE I, Allied Phase II Limited Site Assessment dated August 1996, pp. 3-5, 9,

   ¶ VI). Allied Environmental Services, Inc. (“Allied”) – the entity that performed

   the Phase II investigation – reported that “samples obtained from parts

   washer/varnish pits indicate that levels of VOCs were either below detection

   limits or negligible in all soil borings taken below Pit 01 and Pit 02.” (MDE I,

   Allied Phase II Limited Site Assessment dated August 1996, p. 9, ¶

   VI)(Emphasis added).    As for Pits 3 through 5, Allied opined that “[because of

   the thickness of concrete found in the foundations of Pits 01 and 02, it is not

   deemed necessary to drill into the bottoms of the remaining pits.            The

   remaining pits are in good shape and no fissures were observed in the concrete

   that could provide a conduit for VOC contamination to seep into the soil

   beneath the pits.” (MDE I, pp. 3-5).

         The buildings on the Moran Property were eventually demolished.

   Following that demolition, soil borings were advanced across the Moran

   Property. (MED P, Figure 2). TCE was detected in the unsaturated soil samples

   (2-4 feet) at are below the industrial default closure levels of 350 ug/kg. (Id.,

   tables 1 and 2). PCE concentrations in unsaturated soil samples were minor,



                                          5
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 6 of 23 PageID #: 5277




   below residential and industrial default screening levels.   (Id.).   Von Duprin

   correctly states that soils were removed from the Moran Property, but it is

   important to note “[e]xcavation confirmation sidewall samples exhibited

   impacts of TCE below the applicable IDEM RISC [Industrial Default Closure

   Levels]”.    (MDE P, p.1).   Also, “[i]mpacts of TCE in soil confirmation bottom

   samples were significantly below those concentrations encountered during

   subsurface activities.” (Id. at p. 2). Further still, the soil that was removed

   from the Moran Property was “disposed of as non-hazardous special waste.”

   (Id. at p. 5, ¶ 2.1b).

               C. Facts pertaining to the Ertel and Zimmer Facilities

          Moran agrees with Von Duprin’s statements of facts pertaining to the

   Ertel and Zimmer Facilities (Dkt. 134 pp. 7-8) with a notable exception. Von

   Duprin asserts that soil removal at the Ertel site addressed TCE impacted soil,

   but confirmation sampling following soil excavation at the Ertel site show

   elevated levels of TCE and PCE at levels that far exceed industrial default

   closure levels. (MDE Q, QEPI Soil Removal Report, Figures 7A-7E).

   III.   Argument

      A. Summary judgment standard

          This Court is well-aware of the summary judgment standard.         Moran

   incorporates Von Duprin’s recitation of the summary judgment standard with

   the exception of the last sentence, which cites to no legal authority. (Dkt. 134

   p. 11-12).




                                            6
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 7 of 23 PageID #: 5278




      B. Von Duprin is a responsible party that contaminated its own
         property. It cannot hold Moran jointly and severally liable for the
         costs that it incurred as a result of its own distinct releases of
         contamination.

         While Von Duprin, a responsible party who contaminated its own

   property, is eligible for asserting a cost recovery claim under 42 U.S.C. §

   9607(a), § 107(a), the CERCLA defendants’ liability need not be joint and

   several. See Bernstein v. Bankert, 733 F.3d 190, 201 (7th Cir. 2013). Although

   CERCLA “imposed a strict liability standard, it did not mandate joint and

   several liability in every case. Rather, Congress intended the scope of liability

   to be determined from traditional and evolving principles of common law.” See

   Burlington N. & Santa Fe Ry. Co. v. United States, 556 U.S. 599, 613

   (2009)(internal citations and quotation marks omitted). A CERCLA defendant

   may avoid joint and severable liability by showing a reasonable basis for

   apportionment. Id. at 614-15. This is referred to as the divisibility doctrine.

   The divisibility doctrine is conceptually distinct from contribution or allocation

   of damages. The divisibility doctrine is guided by principles of causation. At

   the allocation phase, the only question is the extent to which a defendant’s

   liability may be offset by the liability of another; the inquiry at this stage is an

   equitable one in which the courts take into account the so-called “Gore

   factors.” United States v. Hercules, Inc., 247 F.3d 706, 718 (8th Cir. 2001).

         The Supreme Court, in Burlington, cited to United States v. Chem-Dyne

   Corp., 572 F. Supp. 802, 811 (S.D. Ohio 1983), stating that Chem-Dyne has

   “been fully embraced by the Courts of Appeals.”         Id. at 613.    Chem-Dyne




                                            7
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 8 of 23 PageID #: 5279




   provides an excellent legislative history and background of CERCLA. In that

   case, the defendants moved for an early determination as to whether they may

   be held jointly and severally liable under CERCLA.        The court characterized

   and treated that motion as one for partial summary judgment. The court then

   noted that “[t]his case, as do most pollution cases, turns on the issue of

   whether the harm caused at [the site] is ‘divisible’ or ‘indivisible.’ If the harm is

   divisible and if there is a reasonable basis for apportionment of damages, each

   defendant is liable only for the portion of harm he himself caused.” Chem-Dyne

   Corp., 572 F. Supp. at 811.

         Defendants    can   demonstrate     that   harms    are   distinct   based   on

   geographical considerations, such as where a site consists of non-contiguous

   area of soil contamination, Akzo Coatings, Inc. v. Aigner Corp., 881 F.Supp.

   1202, 1210 (N.D. Ind. 1994), clarified on reconsid., 909 F.Supp. 1154 (N.D. Ind.

   1995). Even cases involving a single harm may be “treated as divisible in terms

   of degree” based, for example, on the relative quantities of waste discharged

   into a stream. Hercules, Inc., 247 F.3d at 718. Divisibility may be provable

   even where wastes have become cross-contaminated and commingled, “for

   ‘commingling is not synonymous with indivisible harm.’” Id. (quoting United

   States v. Alcan Aluminum Corp., 990 F.2d 711, 721 (2d Cir. 1993). All that a

   defendant is required to show for apportionment is that “there is a reasonable

   basis for determining the contribution of each cause to a single harm.”

   Burlington N. & Santa Fe Ry. Co., 556 U.S. at 614 (citing Restatement (Second)

   of Torts § 433A(1)(b), p. 434 (1963–1964)).



                                            8
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 9 of 23 PageID #: 5280




         Moran has met the threshold of establishing divisibility in this case, and

   Von Duprin’s expert agrees. Moran retained Adam Love of Roux Associates,

   Inc. to opine on the division of chlorinated solvent contamination within the

   study area, and to offer a reasonable basis for apportioning damages. Mr. Love

   opines as follows:

         The areas of chlorinated solvent contamination can be divided
         based on geographic and chemical characteristics and then
         apportioned to appropriate RPs (responsible parties) based upon
         those divisions.

   (MDE J, Love Report, p. 11). He states further:

         For CVOC [chlorinated volatile organic compound] groundwater
         plumes in the Site [defined by Love as an area encompassing the
         four sites at issue in this matter], the CVOC chemical composition
         from the Von Duprin site is distinct from upgradient CVOC source
         locations because it consists largely of PCE, whereas the CVOCs
         from upgradient direction is characterized primarily by TCE.

   (MDE J, Love Report, p. 12). Based upon the distinct shallow environmental

   impacts at each site and the “divisibility of CVOC contamination,” Love is able

   to allocate the CVOC contributions from each of the sites into a percentage for

   the total mass. (MDE J, Love Report, pp. 3-28).

         Von Duprin’s expert, John McInnes agrees that the four properties at

   issue in this case have separate and distinct areas of chlorinated solvent

   contamination. He looked at observed patters of TCE presence in shallow soil,

   TCE presence in the underlying vadose zone soil, and TCE presence in the

   underlying groundwater zone, and opined that TCE was released at each of the

   Zimmer, Ertel, Moran, and Von Duprin sites. (Dkt. 135-3, pp. 3,4,5 and 6).




                                          9
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 10 of 23 PageID #: 5281




   During his deposition, Mr. McInnes agreed that the four sites at issue have

   separate and distinct areas of impact:

         Q.     Yeah. The word “distinct” is important to me. As you look at all
                four sites, is there just one big blob of shallow soil impacts?

         A.     No.

         Q.     Okay.

         A.     That doesn’t cover the entire site.

         Q.     So it doesn’t cover all four sites?

         A.     Right.

         Q.     There are distinct areas of release on those four sites?

         A.     That’s correct.

   (MDE L, McInnes Trans. 26:19-27:4). Moran’s expert’s testimony is sufficient

   to achieve application of divisibility, and Von Duprin’s expert’s testimony

   provides additional support. There is no countervailing evidence that the harm

   at issue in this matter is not divisible.      Moran cannot be held jointly and

   severally liable on this record.

         Also, Von Duprin may recover only the marginal costs that it incurred

   solely as a result of contamination caused by other potentially responsible

   parties. “Section 107(a)(4) of CERCLA applies only to a release or threatened

   release that ‘causes the incurrence of response costs.’” Ninth Ave. Remedial Grp.

   v. Allis-Chalmers Corp., No. 2:94-CV-331, 2001 WL 1823815, at *10 (N.D. Ind.

   Aug. 30, 2001)(Emphasis added); 42 U.S.C. § 9607(a)(4).        Von Duprin, as a

   CERCLA plaintiff who seeks to recover costs under Section 107(a)(4), must

   demonstrate that any release attributable to Moran actually caused the

                                            10
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 11 of 23 PageID #: 5282




   incurrence of costs in addition the costs that Von Duprin incurred by virtue of

   its own disposal of contamination.      See Ninth Ave. Remedial Grp., 2001 WL

   1823815, at *12; PMC, Inc. v. Sherwin-Williams Co., 151 F.3d 610, 616 (7th Cir.

   1998); Akzo Nobel Coatings, Inc. v. Aigner Corp., 197 F.3d 302, 305 (7th Cir.

   1999).

         The 7th Circuit Court of Appeals created a three-part structure for

   allocating environmental response costs to PRPs. A CERCLA defendant, such

   as Moran, may not be allocated any costs if any release of contamination

   attributable to Moran did not “significantly increase[] Site response costs.” See

   Ninth Ave. Remedial Grp., 2001 WL 1823815, at *12 (citing PMC, 151 F.3d at

   616). If Von Duprin is able to clear that hurdle, then any costs allocated to

   Moran must be capped by “the total cost [that Von Duprin] would have borne”

   had any release attributable to Moran been the only cause of contamination at

   the Von Duprin Site.     Ninth Ave. Remedial Grp., 2001 WL 1823815, at *12

   (citing Akzo, 197 F.3d at 305.)(“in other words, the ‘ceiling’ established in Akzo,”

   197 F.3d at 305.). The third part of this three-part structure is that any costs

   allocated to Moran are measured by “‘the increase in marginal cost’

   necessitated by [a release of contamination attributable to Moran].” See Id.

         Von Duprin would have incurred the response costs that it now seeks to

   recover even if Moran and the other PRP’s were absent. Von Duprin’s expert

   acknowledged that Von Duprin incurred costs as a result of releases of

   contamination at the Von Duprin Site that are not attributable to upgradient

   potential sources – such as Moran. (Dkt. 137-3, 102:20-104:6). He also



                                           11
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 12 of 23 PageID #: 5283




   testified that if Von Duprin’s contamination was the only contamination on the

   Von Duprin Site, then Von Duprin would have incurred the same costs. (Dkt.

   137-3, 104:1-104:19). This expert testimony is the only testimony from Von

   Duprin’s expert on the topic of whether any contamination attributable to

   entities other than Von Duprin “significantly increased” response costs at the

   Von Duprin Site – and the answer is no. Under these circumstances, Moran

   cannot be held jointly and severally liable for Von Duprin’s response costs on

   summary judgment.      The Court should deny Von Duprin’s request to hold

   Moran jointly and severally liable for Von Duprin’s recoverable response costs.

   The Court should rule instead that Von Duprin’s harm is divisible, and that

   Moran may be held liable only for its proportionate share of the harm.

      C. For costs to be recoverable under 107(a), they must be both
         necessary and incurred in compliance with the National
         Contingency Plan.

         Von Duprin is pursuing a claim against Moran under 42 U.S.C.

   9607(a)(4)(B) to recover certain environmental response costs. (Dkt. 42, p. 12).

   Only “necessary costs of response incurred by any other person consistent with

   the national contingency plan” are recoverable under that section of CERCLA.

   See 42 U.S.C. § 9607(a)(4)(B). To establish a prima facie case under § 107(a), a

   nongovernmental plaintiff must show than any costs incurred in responding to

   a release of contamination are consistent with the national contingency plan.

   Id.; NutraSweet Co. v. X-L Eng'g Co., 227 F.3d 776, 791 (7th Cir. 2000);

   Valbruna Slater Steel Corp. v. Joslyn Mfg. Co., No. 1:10-CV-044-JD, 2015 WL

   8055999, at *3 (N.D. Ind. Dec. 4, 2015); Cty. Line Inv. Co. v. Tinney, 933 F.2d



                                         12
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 13 of 23 PageID #: 5284




   1508, 1512 (10th Cir. 1991)(“Proof of response costs incurred ‘consistent with’

   the NCP is, therefore, an element of a prima facie private cost recovery action

   under CERCLA.”). It is appropriate for the trial court to evaluate conformity

   with the NCP at the summary judgment stage. NutraSweet Co., 227 F.3d at

   791.

          The NCP was formulated to provide “specific steps that parties must take

   in choosing a remedial action plan and in cleanup up hazardous waste.” Metro.

   Water Reclamation Dist. of Greater Chicago v. N. Am. Galvanizing & Coatings,

   Inc., 473 F.3d 824, 827 (7th Cir. 2007).     CERCLA plaintiffs are required to

   substantially comply with NCP requirements, and courts have customarily

   ruled that costs that are not incurred in compliance with the NCP are not

   eligible for recovery. For example, in Sherwin-Williams, the 7th Circuit Court of

   Appeals noted that the “[NCP] requires that the proposed clean-up method in

   which the costs will be incurred be submitted for public comment before it is

   implemented … PMC failed to do this and a s a result the it could not obtain

   any contribution under section 113(f)(1) for the cleanup costs that it has

   already incurred.” PMC, Inc., 151 F.3d at 617-18; see also, Washington State

   Dep't of Transp. v. Washington Nat. Gas Co., Pacificorp, 59 F.3d 793, 803 (9th

   Cir. 1995)(“we have no difficulty concluding that WSDOT's actions were

   inconsistent with the NCP. WSDOT failed to assess accurately both the nature

   and the extent of the threat posed by the presence of PAHs in the soil, failed to

   evaluate alternatives in the matter prescribed in the NCP, and failed to provide

   opportunity for public comment.”); Cty. Line Inv. Co., 933 F.2d at 1512 (costs



                                          13
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 14 of 23 PageID #: 5285




   not recoverable where plaintiff “provided no such opportunity for public

   comment on their response action at the Landfill.”); Channel Master Satellite

   Sys., Inc. v. JFD Elecs. Corp., 748 F. Supp. 373, 389 (E.D.N.C. 1990)(holding

   that cleanup effort was not in substantial compliance with the NCP where

   remedial alternatives were not adequately developed, a cost estimate was not

   properly created, and there was no public notice and opportunity to comment).

          1. Von Duprin has not met its burden of establishing compliance
             with the NCP as a necessary element of its claim. Its summary
             judgment motion must be denied on that basis.

          Von Duprin has not shown that the costs that it has incurred and seeks

   to recover are in compliance with the NCP. Von Duprin’s argument on this

   issue is that “At least some of Von Duprin’s Response Costs were Necessary

   and Incurred Consistent with the National Contingency Plan.” (Dkt. 134, p.

   20).   This section of Von Duprin’s argument covers about five pages, but

   contains no analysis of Von Duprin’s NCP compliance. Von Duprin references

   of portion of its NCP expert’s testimony that involves the incurrence of certain

   costs, but does not discuss the requirements of the NCP. (Dkt. 134, p. 20-

   21)(citing Dkt. 135-13, 123:3-23).    The statement provided and supporting

   evidence does not help counsel or the Court understand the analysis, and it

   certainly does not establish compliance with the NCP.

          Von Duprin then makes the assertion that it “easily meets the current

   standard for NCP compliance” and references Mr. Williams’ expert report. (See

   Dkt. 134, p. 4).   But there is no analysis or explanation of that report, the

   requirements of NCP itself, or how the removal action undertaken to date



                                         14
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 15 of 23 PageID #: 5286




   complies with those requirements. Last, Von Duprin discusses its investigative

   activities and asserts that such activities need not comply with the NCP.

   Whatever the merits of that argument, Von Duprin does not cite to its NCP

   expert, but instead to the affidavit of a fact witness, Mr. Ferree. And again,

   there is no explanation of analysis that supports Von Duprin’s conclusory

   assertions. (Dkt. 134, p. 24).

         This is a failure of proof. On summary judgment, Von Duprin cannot

   just point us to its expert’s report and expect that counsel and the Court will

   perform the required analysis. Von Duprin carries the burden of establishing

   the NCP compliance element of its claim. That it has not done.

         2. Von Duprin’s NCP expert’s report does little to help understand
            Von Duprin’s NCP compliance analysis.         Some costs were
            certainly not incurred in compliance with the NCP and must be
            excluded from recovery on summary judgment.

         During his deposition, Mr. Williams admitted that he has not reached a

   conclusion that 100% of the work that Geosyntec (Von Duprin’s current

   consulting firm) performed complied with the NCP. (Williams Trans., 16:6-10).

   And he admitted without qualification that he has performed no NCP

   compliance analysis for the work that was performed by other consultants

   (hired by other PRPs), the costs of which Von Duprin seeks to recover in this

   case. (Dkt. 137-3, 83:5-86:11; 126:23-127:25). If Mr. Williams cannot explain

   his opinions as to certain portion of the NCP, then any such opinion is

   insufficient to avoid summary judgment in Moran’s favor on the issue of

   whether certain costs must be excluded from recovery.     “An expert is entitled

   to offer a view on the ultimate issue … but an expert's report that does nothing

                                         15
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 16 of 23 PageID #: 5287




   to substantiate this opinion is worthless, and therefore inadmissible.” Minasian

   v. Standard Chartered Bank, PLC, 109 F.3d 1212, 1216 (7th Cir. 1997).

   Summary judgment cannot be avoided by presenting conclusory testimony of

   an expert witness. State Farm & Cas. Co. v. Miles, 730 F. Supp. 1462, 1472

   (S.D. Ind. 1990).

         Mr. Williams’ states in his expert report that he “considered 40 CFR

   300.700(c)(3)(i) and the requirements specified in 40 CFR 300.700(c)(5)(6). In

   doing so, I concluded that the following sections of the NCP are applicable[.]”

   (Dkt. 135-14, p. 10). Mr. Williams went on to cite at least twelve separate NCP

   sections with which Von Duprin’s incurrence of costs must comply. But his

   analysis of several of the sections is sparse, largely conclusory, and/or shows

   that Von Duprin’s recovery of costs incurred must be limited.

            a. Worker health and safety

         Paragraph 5.1 of Mr. Williams report recites the requirement of preparing

   worker health and safety plans (“HASP”) and Task Hazard Analyses (“THA”) in

   accordance with 40 CFR § 300.150.      Mr. Williams identifies the HASPs and

   THAs that Geosyntec has created, which date back to August of 2014. (Dkt.

   135-14, p. 10-11). There is no analysis for any work performed prior to that

   month and year.     Any work that was performed prior to that time was not

   performed in compliance with this section of the NCP.

            b. Work performed by consultants other than Geosyntec

         In section 5.2.4 of his expert report (Dkt. 135-14), Mr. Williams has

   identified various consultants other than Geosyntec that he claims, to some



                                         16
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 17 of 23 PageID #: 5288




   extent, performed some work in substantial compliance with the NCP. Those

   firms include Alt & Witzig Engineering, Inc., Arcadis U.S., Inc., August Mack

   Environmental, Inc., EnviroForensics, and Mundell & Associates.         (“Other

   Consultants”). (Dkt. 135-14, p. 13, Heading 5.2.4). These Other Consultants

   were almost exclusively hired and paid by other PRPs in the area (with perhaps

   the exception of Arcadis). According to Von Duprin, it paid money to another

   PRP as part of settling state law claims, and received the data generated by the

   Other Consultants as part of that deal.       Those settlement costs are not

   recoverable, regardless of whether title to the data (which was almost certainly

   public information) changed hands.

         Mr. Williams offered the opinion that some of the costs associated with

   the Other Consultants comply with the NCP and other costs do not – but he

   cannot tell us which are compliant and which are not. (Williams Trans. 83:5-

   86:14). This is a bare opinion with no support. There is zero analysis in Mr.

   Williams’ expert report that approaches a competent opinion of NCP

   compliance regarding work performed by the Other Consultants. (Dkt. 137-3,

   83:5-86:11).   Mr. Williams performed only an analysis of the work that

   Geosyntec performed.    Mr. Williams testified that he has not performed an

   analysis as to whether those costs are recoverable when performing his NCP

   analysis. (Dkt 137-3, 83:5-86:11; 126:23-127:25). Von Duprin’s expert has not

   assessed whether those costs are compliant with the NCP, so as to be

   recoverable, and he agrees that settlement costs do not come within the scope

   of the NCP.    (Dkt. 137-3, 63:7-15; 65:8-66:6). Mr. Williams states only that



                                         17
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 18 of 23 PageID #: 5289




   Von Duprin paid for the data as part of a settlement; that he believes some of

   those costs are compliant with the NPC; that he cannot state which costs are or

   are not compliant with the NCP; that he drew information from a summary of

   those costs, but he did not disclosed that summary as part of his expert

   opinion (Dkt. 137-3 83:5-84:10). And, Von Duprin has not presented evidence

   detailing the settlement agreement here. The costs that Von Duprin paid to

   another PRP as part of a settlement are not costs incurred in substantial

   compliance with the NCP. And there is no expert testimony showing that the

   underlying work was performed by the Other Consultants in substantial

   compliance with the NCP. Costs associated with the Other Consultants must

   be excluded as non-recoverable.

            c. Public information and community relations

         Section 5.9 of Williams’ report discusses 40 CFR 300.700(c)(6)’s public

   participation requirement for private parties undertaking response actions.

   There is no analysis or explanation of how Von Duprin’s response actions

   satisfied the NCP’s public participation requirement, or which response actions

   were undertaken with IDEM’s oversight. (Dkt. 135-14, p. 20). Mr. Williams

   does little more than refer to his attached Exhibit B and a report create by

   Geosyntec. Exhibit B offers little more than a reference back to the Geosyntec

   report and a statement that “correspondence with IDEM and property owners

   is summarized above” – somewhere. (Dkt. 135-14, Ex. B, p. 19). The job of an

   expert is to help aid the trier of fact. Fed. R. Evid. 702(a); Daubert v. Merrell

   Dow Pharm., Inc., 509 U.S. 579, 591 (1993).



                                          18
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 19 of 23 PageID #: 5290




         An expert is not helpful if he simply refers his audience to documents

   without providing any sort of explanation of those documents. Moran could

   have done that in the absence of an expert. Williams’ opinion that the NCP’s

   public participation requirement has been established is not adequately

   supported or explained so as to warrant the grant or avoidance of summary

   judgment.

            d. Moran joins Major Tool and Major Holdings’ (“Major”)
               arguments on summary judgment that some or all of Von
               Duprin’s costs were not necessary or incurred in compliance
               with the NCP.

         Moran anticipates that Major will offer an analysis of the shortcomings of

   Von Duprin’s NCP expert’s analysis, and whether Von Duprin incurred costs in

   compliance with the NCP. Moran joins those legal arguments to the extent that

   they challenge the NCP compliance element of Von Duprin’s CERCLA claim.

      3. Whether Von Duprin’s incurrence of costs was “necessary” is a
         mixed question of law and fact. There is an issue of fact as to
         whether the costs that Von Duprin seeks to recover were necessary.

         Under CERCLA, costs are “necessary” if they are incurred in response to

   a threat to human health or the environment, and they are necessary to

   address that threat. Valbruna Slater Steel Corp. v. Joslyn Mfg. Co., No. 1:10-

   CV-044-JD, 2015 WL 8055999, at *4 (N.D. Ind. Dec. 4, 2015). Whether costs

   are necessary is a mixed question of law and fact. Id. (citing G.J. Leasing Co. v.

   Union Elec. Co., 54 F.3d 379, 386 (7th Cir.1995)).

         Opinion 1 of Mr. Williams expert report is stated as follows: “Von Duprin

   has incurred necessary response costs for site investigation and remediation

   activities associated with the release and threatened release of hazardous

                                          19
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 20 of 23 PageID #: 5291




   substances on the Defendants’ properties.” (Dkt. 135-14, p. 8). There is not a

   single reference to “human health or the environment” in Mr. Williams

   analysis. (Id. at pp. 8-9). During his deposition, Mr. Williams was asked, “In

   determining which costs were necessary, did you look at whether those costs

   were related to a risk to human health or the environment in the study area?”

   He responded, “I didn’t distinguish between risk to human health, just what

   was necessary to defined the extent of contamination.” He then stated that

   during delineation, “there is an evaluation of what the concentration represents

   in terms of a threat to human health and the environment.”    Mr. Williams was

   then asked to clarify his opinion: “Have you developed any conclusion as to

   what contaminants pose a risk to human health and the environment?”

   Answer: “Yes.” Next question: “Is that part of any opinion that you are offering

   in this case?   Answer: “Not specifically, no.”   (Dkt. 137-3, Williams Trans.,

   43:18-44:14)(emphasis added). Further, Mr. Williams was asked, “Have you

   determined whether any release on the Moran property has posed a risk to

   human health and the environment? His answer, “I have not.” (Dkt. 137-3,

   47:2-5). It may be the case that there are impacts in the vicinity of the Von

   Duprin site, but he does not offer an opinion of whether Von Duprin’s incurred

   costs were necessary to address contamination that poses a risk to human

   health or the environment.

         Last, Von Duprin submitted an application for entry into Indiana’s

   Voluntary Remediation Program (“VRP”) on June 2, 2016. Mr. Williams refers

   to Von Duprin’s entry into a voluntary remediation agreement with IDEM in his



                                          20
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 21 of 23 PageID #: 5292




   expert report. (Dkt. 135-14, p. 8-9). The VRP contains a section that asks Von

   Duprin whether there is an immediate threat to human health or the

   environment. Here is Von Duprin’s response:




   (MDE M, VRP App., p. 4 of 20). On that same application, Von Duprin reported

   TCE impacts to soil at 14.8 mg/kg, which converts to 14,800 ug/kg (or 14,800

   parts per billion (ppb)). Von Duprin also reported PCE impacts to soil at 45.10

   mg/kg, which converts to 45,100 ug/kg (or 45,100 ppb). (Id.). According to

   Von Duprin’s VRP application, those levels of contamination do not pose an

   immediate or substantial threat to human health or the environment. If that

   level of contamination does not pose a risk to human health or the

   environment, it is difficult to conceive an argument that contamination at the

   Moran Site poses a risk to human health or the environment. (MDE P, Table 1,

   showing the highest TCE soil impact at 11,600 ppb and the highest PCE soil

   impact at 116 ppb). At the very least, there is an issue of material fact as to

   whether costs incurred were necessitated by addressing a threat to human

   health or the environment.     The existence of this issue of fact provides a

   separate basis for precluding the entry of partial summary judgment in Von

   Duprin’s favor.




                                         21
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 22 of 23 PageID #: 5293




   IV.   Conclusion

         Moran respectfully requests that this Court deny Von Duprin’s motion

   for partial summary judgment and grant Moran’s cross-motion for partial

   summary judgment on the following grounds:

      a. Moran has demonstrated that divisibility is property. Moran is entitled

         to a ruling that it may be responsible for only its proportionate share of

         harm. Allocation of costs will occur at trial;

      b. Von Duprin has not established the NCP compliance element of its claim

         under § 107(a). This provides a separate basis for denying Von Duprin’s

         motion.   Moran has demonstrated that certain costs that Von Duprin

         seeks to recover were categorically not incurred in compliance with the

         NCP. Moran is entitled to partial summary judgment as to those costs,

         which will be excluded from any allocation analysis that occurs at a later

         date.

      c. Von Duprin has not established that the costs it seeks to recover were

         “necessary” as required by § 107(a). There is a genuine issue of material

         fact on this issue.    This provides a distinct basis for denying Von

         Duprin’s motion for partial summary judgment.




                                           22
Case 1:16-cv-01942-TWP-DML Document 139 Filed 08/17/18 Page 23 of 23 PageID #: 5294




                                  Respectfully submitted,


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                             CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on the 17th day of August 2018 a

   copy of the foregoing was filed through the court’s electronic filing system.

   Notice of this filing was sent to all counsel of record by operation of the Court's

   ECF notification system, and the parties may access this filing through ECF

   and/or PACER.



                                 /s/ Marc A. Menkveld




                                           23
